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           EXHIBIT 1

   Severance Agreement
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                                      Meyer Foundation

VIA ELECTRONIC DELIVERY


October 15, 2019


Ms. Terri D. Wright
204 Beacon Place NE
Washington DC 2001 1


Dear Terri,


As you know, you separated from employment with The Eugene and Agnes E. Meyer Foundation
(the "Foundation") on October 1, 2019. In connection with your separation, the Foundation provided
you with a severance agreement on October 1, 2019 (the "initial severance agreement") that set forth
the severance benefits you were eligible to receive. You have since requested changes to the initial
severance agreement and the Foundation has agreed to revise certain of the severance benefits it
initially offered you as set forth herein (the "revised letter agreement").


Accordingly, you are eligible to receive the severance benefits described in paragraph 2 below if you
timely sign and return this revised letter agreement to me at The Eugene and Agnes E. Meyer
Foundation, 1250 Connecticut Avenue, NW, Suite 800, Washington, DC, 20036 no later than
October 23, 2019. By timely signing and returning this revised letter agreement, you will be entering
into a binding agreement with the Foundation and will be agreeing to the terms and conditions set
forth in the numbered paragraphs below, including the release of claims set forth in paragraph 3.
Therefore, you are advised to consult with an attorney of your own choosing before signing this
revised letter agreement and you have been given at least seven days to do so.


If you choose not to sign and return this revised letter agreement by October 23, 2019, you shall not
receive any severance benefits from the Foundation. However, you have already received payment
for all salary and unused vacation accrued through the Separation Date (as defined below), less all
applicable taxes and withholdings. To the extent that you have not submitted for reimbursement
business-related expenses that you may have incurred through the Separation Date, such
reimbursement request must be submitted no later than October 23, 2019. The Foundation will
reimburse you for such reasonable expenses pursuant to its expense reimbursement policy.


The following numbered paragraphs set forth the terms and conditions that will apply if you timely
sign and return this revised letter agreement and comply with its terms.


1.     Separation Date. Your effective date of separation from the Foundation was
       October 1, 2019 (the "Separation Date").


2.     Severance Benefits.
              a)   Severance Pay. The Foundation will pay you $67,500.00, less all applicable state
                   and federal taxes, as severance pay (which is equivalent to four and one-half months
                   of your current base salary rate). This severance pay will be paid in one lump sum in
                   accordance with the Foundation's normal payroll procedures no later than 15
                   business days after the date we receive this signed revised letter agreement from you.

              b)   Outplacement Services. The Foundation will provide you with outplacement and
                   career assistance services through Koya Leadership Partners. You will be provided
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               four one-hour long sessions that you may schedule directly with Koya Leadership
               Partners. The cost for such services will be paid directly to Koya Leadership Partners
               in accordance with the terms of the Foundation's agreement with Koya Leadership
               Partners. You must contact and begin the outplacement services with Koya
               Leadership Partners no later than October 3 1, 2019 and you must complete your use
               of the outplacement services no later than December 3 1, 2019; provided, however,
               that you may not schedule your first session until you have timely returned this
               revised letter agreement. To schedule the sessions described above, contact Molly
               Scully at mscuHy@kovapartners.com.


          c)   Response to Unemployment Inquiries. The Foundation agrees not to contest any
               unemployment compensation claim you may bring; provided, however, that the
               Foundation will provide truthful and accurate information to any government agency
               regarding you.


3.    Release of Claims. In consideration of the severance benefits, which you acknowledge you
      would not otherwise be entitled to receive, you, on behalf of yourself and your successors,
      assigns and agents, hereby fully, irrevocably and unconditionally release, remise and forever
     discharge the Foundation and its respective predecessors, successors, affiliates, subsidiaries,
     parent companies and assigns, and all of their respective past and present directors, officers,
     partners, members, stockholders, plan administrators, fiduciaries, insurers, agents, attorneys
     and employees (each in their individual and corporate capacities) (collectively, the
     "Releasees") from any and all claims, charges, complaints, demands, actions, causes of
     action, suits, rights, debts, sums of money, costs, accounts, reckonings, covenants, contracts,
     agreements, promises, doings, omissions, damages, executions, obligations, liabilities and
     expenses (including attorneys' fees and costs), of every kind and nature that you have ever
     had or now have against any or all of the Releasees, including, but not limited to, any and all
     claims arising out of or relating to your employment with and/or separation from the
     Foundation, including, but not limited to, all claims under Title VII of the Civil Rights Act of
     1964, 42 U.S.C. § 2000e et seq.. the Genetic Information Nondiscrimination Act of 2008, 42
     U.S.C. § 2000ff et seq.. the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et
     seq.. the Family and Medical Leave Act, 29 U.S.C. § 2601 et seq., the Fair Credit Reporting
     Act, 15 U.S.C. § 1681 et seq.. the Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq., the
     Uniform Services Employment and Reemployment Rights Act of 1994, 38 U.S.C. § 4301 et
     seq.. Executive Order 1 1246, Executive Order 1 1 141, the Employee Retirement Income
     Security Act of 1974 ("ERISA"), 19 U.S.C. § 1001 et seq., the District of Columbia Human
     Rights Act of 1977, D.C. Code § 2-1401.01 et seq,, D.C. Code § 7-1005 et seq, (D.C.
     disability discrimination law), D.C. Code § 32-501 et seq. (D.C. family and medical leave
     law) and D.C. Code § 32-521.01 et seq. (D.C. parental leave law), all as amended; all
     common law claims including, but not limited to, actions in defamation, intentional infliction
     of emotional distress, misrepresentation, fraud, wrongful discharge, and breach of contract;
     all claims to any ownership interest in the Foundation, contractual or otherwise; any claims
     for unpaid wages, including overtime pay, and related claims including the failure to timely
     pay you any wages to which you were entitled, to the extent releaseable by applicable law;
     and any claim or damage arising out of your employment with and/or separation from the
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     Foundation (including a claim for retaliation) under any common law theory or any federal,
     state or local statute or ordinance not expressly referenced above (collectively, the "Claims"),
     except as otherwise set forth in paragraph 4 below. Further, nothing in this revised letter

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      agreement constitutes a waiver of any rights you may have for unemployment compensation
      benefits.


      You understand and agree that the Claims released in this paragraph 3 include not only
      claims presently known to you, but also all unknown or unanticipated claims, rights,
      demands, actions, obligations, liabilities and causes of action of every land and character that
      would otherwise come within the scope of the released claims as described in this
     paragraph 3. You confirm that you understand that you may hereafter discover facts different
     from what you now believe to be true, which if known, could have materially affected this
     release, but you nevertheless waive and release any claims or rights based on different or
     additional facts.


4.   Protected Activity. Nothing in this revised letter agreement prevents you from filing a
     charge with, cooperating with, or participating in any proceeding before any governmental
     entity charged with the enforcement of any law, including, but not limited to, the EEOC or a
     state fair employment practices agency (except that you acknowledge that you may not
     recover any monetary benefits in connection with any such claim, charge or proceeding).
     Furthermore, nothing in this revised letter agreement prohibits you from making truthful
     disclosures to any governmental entity that are protected under whistleblower provisions of
     applicable law. Pursuant to the Defend Trade Secrets Act:


             "An individual shall not be held criminally or civilly liable under any Federal or State
             trade secret law for the disclosure of a trade secret [as defined in the Economic
             Espionage Act] that (A) is made (i) in confidence to a Federal, State, or local
             government official, either directly or indirectly, or to an attorney; and (ii) solely for
             the purpose of reporting or investigating a suspected violation of law; or (B) is made
             in a complaint or other document filed in a lawsuit or other proceeding, if such filing
             is made under seal. An individual who files a lawsuit for retaliation by an employer
             for reporting a suspected violation of law may disclose the trade secret to the attorney
             of the individual and use the trade secret information in the court proceeding, if the
             individual (A) files any document containing the trade secret under seal; and (B) does
             not disclose the trade secret, except pursuant to court order."


5.   Continuing Obligations. Subject to paragraph 4 above, you acknowledge and affirm your
     obligation to keep confidential and not disclose any and all non-public information
     concerning the Foundation that you acquired during the course of your employment with the
     Foundation, including, but not limited to, any non-public information concerning the
     Foundation's business affairs, business prospects, and financial condition.


6.   Mutual Non-Disparagement. You agree that you have not made, and will not make, any
     false, disparaging or derogatory statements to any person or entity, including any media
     outlet, industry group or financial institution, regarding the Foundation or any of the other
     Releasees, or about the Foundation's business affairs and/or financial condition; provided,
     however, that nothing herein prevents you from making truthful disclosures to any
     governmental entity or in any litigation or arbitration. Likewise, the Foundation will direct
     those officers, directors and employees with direct knowledge of this revised letter agreement
     not to make any false, disparaging or derogatory statements to any person or entity regarding
     you; provided, however, that nothing herein prevents such individuals from making truthful
     disclosures to any governmental entity or in any litigation or arbitration.
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        represent that you have carefully read this revised letter agreement, understand the contents
        herein, freely and voluntarily assent to all of the terms and conditions hereof, and sign your
        name of your own free act.


 14.    Validity. Should any provision of this revised letter agreement be declared or be determined
        by any court of competent jurisdiction to be illegal or invalid, the validity of the remaining
        parts, terms or provisions shall not be affected thereby and such illegal or invalid part, term
        or provision shall be deemed not to be a part of this revised letter agreement.


 15.    Governing Law. This revised letter agreement shall be interpreted and construed by the
        laws of the District of Columbia, without regard to conflict of laws provisions. You hereby
        irrevocably submit to and acknowledge and recognize the jurisdiction of the courts of the
        District of Columbia, or if appropriate, a federal court located in the District of Columbia
        (which courts, for purposes of this revised letter agreement, are the only courts of competent
        jurisdiction), over any suit, action or other proceeding arising out of, under or in connection
        with this revised letter agreement or the subject matter hereof.


16.     Amendment and Waiver. This revised letter agreement shall be binding upon the parties
        and may not be modified in any manner, except by an instrument in writing of concurrent or
        subsequent date signed by duly authorized representatives of the parties hereto. This revised
        letter agreement is binding upon and shall inure to the benefit of the parties and their
        respective agents, assigns, heirs, executors, successors and administrators. No delay or
        omission by the Foundation in exercising any right under this revised letter agreement shall
        operate as a waiver of that or any other right. A waiver or consent given by the Foundation
        on any one occasion shall be effective only in that instance and shall not be construed as a bar
        to or waiver of any right on any other occasion.


17.     Tax Acknowledgement. In connection with any and all severance benefits provided to you
        pursuant to this revised letter agreement, the Foundation will withhold and remit to the tax
        authorities the amounts required under applicable law, and you shall be responsible for all
        applicable taxes with respect to such severance benefits under applicable law. You
        acknowledge that you are not relying upon the advice or representation of the Foundation
        with respect to the tax treatment of any of the severance benefits set forth above.


18.     Entire Agreement. This revised letter agreement contains and constitutes the complete
        agreement between the parties hereto with respect to your separation from employment and
        the settlement of claims against the Foundation and cancels all previous oral and written
        negotiations, agreements and commitments in connection therewith, including, but not
        limited to, the initial severance agreement. Nothing in this paragraph 18, however, shall
        modify, cancel or supersede your continuing obligations as set forth in paragraph 5 herein.


If you have any questions about the matters covered in this revised letter agreement, please call or
email me at 202-552-7470 and ngoren@meyerfdn.org.


                                               Very truly yours,


                                               By:
                                                       Nicky Goren
                                                       President
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I hereby agree to the terms and conditions set forth above. I have been given at least seven days to
consider this revised letter agreement, and I have chosen to execute this on the date below.


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Terri D.Wright                <J
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                                                       Date




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